                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


STATE OF NEW JERSEY, et al.,

                   Plaintiffs,

       -vs.-                                          Case No. 25-cv-10139-LTS

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                   Defendants.



               UNOPPOSED MOTION FOR LEAVE TO FILE AMICUS BRIEF

       Amici Curiae Members of Congress move for leave to file an amicus brief in opposition

to Plaintiffs’ motion for preliminary injunction. In furtherance of this motion, Amici state:

       1.       Amici are 18 members of Congress who serve on the Committee on the Judiciary

of the U.S. House of Representatives. Chairman Jim Jordan leads this coalition and is joined by

Reps. Andy Biggs, Chip Roy, Brandon Gill, Troy Nehls, Lance Gooden, Victoria Spartz, Mark

Harris, Scott Fitzgerald, Robert Onder, Harriet M. Hageman, Tom McClintock, Wesley Hunt,

Glenn Grothman, Ben Cline, Russell Fry, Michael Baumgartner, and Brad Knott.

       2.       Amici have a strong interest in the outcome of this case because Congress, as a co-

equal branch of government, has an interest in the courts upholding the Constitution.

       3.       The brief will assist the court by laying out the historical record regarding the

meaning of “subject to the jurisdiction thereof” in Section One of the Fourteenth Amendment.

Specifically, the historical record confirms that the Fourteenth Amendment does not confer

citizenship on the children of aliens unlawfully present in the United States. Because of this,
“[a]n alien who seeks political rights as a member of this Nation can rightfully obtain them only

upon terms and conditions specified by Congress,” United States v. Ginsberg, 243 U.S. 472, 474

(1917), but Congress has never granted citizenship to the children of aliens unlawfully present,

see also 8 U.S.C. § 1408. Thus, the other branches are forbidden from conferring such

citizenship on their own, a limitation that the Executive Order ensures is followed within the

executive branch. See also INS v. Pangilinan, 486 U.S. 875, 885 (1988) (“Neither by application

of the doctrine of estoppel, nor by invocation of equitable powers, nor by any other means does a

court have the power to confer citizenship in violation of these limitations.”).

       4.      The Court should accordingly deny the motion for a preliminary injunction.

       5.      This Court has the inherent authority to grant leave to file an amicus brief. See

Strasser v. Doorley, 432 F.2d 567, 569 (1st Cir. 1970). See also All. of Auto Mfrs. v. Gwadowsky,

297 F.Supp.2d 305, 306 (D. Me. 2003) (“The district court retains ‘the inherent authority’ to

appoint amicus curiae ‘to assist it in a proceeding’” [citation omitted]).

       6.      The Court already has exercised such discretion by granting leave to another

amicus curiae to file an amicus brief. See ECF 85, Order granting Amicus Curiae Local

Governments and Local Government Officials’ Motion for Leave to File Proposed Amicus Brief.

       7.      Counsel for Amici have conferred with counsel for the Plaintiffs and the

Defendants. Plaintiffs do not oppose this motion. Defendants assent to this motion.

       8.      A true and accurate copy of the proposed amicus brief is attached hereto as

Exhibit A.

       Accordingly, for the foregoing reasons, Amici Members of Congress respectfully request

that this Court grant this motion for leave to file the attached amicus brief.




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Dated: February 3, 2025   Respectfully submitted,


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                  CERTIFICATE OF COMPLIANCE WITH L.R. 7.1(a)(2)

       I hereby certify that I conferred with counsel for all parties and attempted in good faith to
resolve or narrow the issues presented in this motion. The Plaintiffs do not oppose this motion.
The Defendants assent to this motion.

                                                      /s/ George W. Vien
                                                      George W. Vien


                                 CERTIFICATE OF SERVICE

         I hereby certify that this document filed through the ECF system will be sent
 electronically to the registered participants as identified on the Notice of Electronic Filing
 (NEF), on February 3, 2025.
                                                        /s/ George W. Vien
                                                        George W. Vien




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